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            EXHIBIT 4
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6HDUFK                3XEOLF5HFRUGV5HDO3URSHUW\
7HUPV                 VWUHHWDGGUHVV $QGHUVRQ$YHQXH FLW\ $OSLQH VWDWH 1- ]LSFRGH 




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1R    1DPH,QIRUPDWLRQ                3URSHUW\$GGUHVV                $31                        -XULVGLFWLRQ
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                    <RXU6HFRQGDU\'33$3HUPLVVLEOH8VH1RQH
                    <RXU*/%$3HUPLVVLEOH8VH3HUVRQVZLWKD/HJDORU%HQHILFLDO,QWHUHVW5HJDUGLQJD&RQVXPHU



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